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16
                              UNITED STATES DISTRICT COURT
17                          NORTHERN DISTRICT OF CALIFORNIA

18
     DANIEL VALENTI, Individually and On Behalf         Case No.: 3:21-cv-06118-JD
19   of All Others Similarly Situated,
                                                        DEFENDANTS’ MOTION TO
20                               Plaintiff,             DISMISS THE SECOND AMENDED
                                                        COMPLAINT AND
21             v.                                       MEMORANDUM OF POINTS AND
22                                                      AUTHORITIES IN SUPPORT
     DFINITY USA RESEARCH LLC, DFINITY
23   FOUNDATION and DOMINIC WILLIAMS,                     Date:         August 29, 2024
                                                          Time:         10:00 a.m.
24                               Defendants.              Courtroom:    11, 19th Floor
                                                          Judge:        Hon. James Donato
25

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 1                                NOTICE OF MOTION AND MOTION

 2   TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 3             PLEASE TAKE NOTICE that on August 29, 2024, at 10:00 a.m., or as soon thereafter as

 4   counsel may be heard, in the courtroom of the Honorable James Donato, 450 Golden Gate Ave.,

 5   San Francisco, CA 94102, Courtroom 11, 19th Floor, Defendants Dfinity USA Research, LLC

 6   Dfinity Foundation, and Dominic Williams will and do hereby move the Court for an order

 7   dismissing the Second Amended Class Action Complaint (ECF No. 139) brought by Plaintiff

 8   Daniel Valenti and Lead Plaintiff Henry Rodriguez.

 9             This motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6) and is based on

10   the following grounds: the Complaint fails to state a claim for relief under Sections 12(a)(1) or 15

11   of the Securities Act of 1933, 15 U.S.C. §§ 77l(a)(1), 77o (“Securities Act”), or under Sections

12   10(b), 20A, or 20(a) of the Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78j(b), 78t-1,

13   78t(a).

14             This motion is based upon this Notice of Motion and the Memorandum of Points and

15   Authorities in Support filed herewith, the pleadings and documents on file in this case, and other

16   such arguments as may be presented by counsel at the hearing on this motion.

17                                        ISSUE TO BE DECIDED

18             Whether the Complaint should be dismissed under Fed. R. Civ. P. 12(b)(6) because, even

19   if the allegations in the Complaint are taken as true, it fails to state a claim under Sections 12(a)(1)

20   or 15 of the Securities Act or under Sections 10(b), 20A, or 20(a) of the Exchange Act.

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     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                                                        NO. 3:21-CV-06118-JD
 1          Dfinity USA Research LLC (“Dfinity USA”), Dfinity Foundation (the “Foundation,” and,

 2   together with Dfinity USA, “Dfinity”), and Dominic Williams (“Mr. Williams,” and together with

 3   Dfinity, “Defendants”) respectfully submit this Memorandum of Law in Support of Their Motion

 4   to Dismiss the Second Amended Class Action Complaint (ECF No. 139) (the “SAC”) pursuant to

 5   Federal Rule of Civil Procedure 12(b)(6) for failure to state claims under Sections 12(a)(1) and 15

 6   of the Securities Act, 15 U.S.C. §§ 77l(a)(1), 77o, and Sections 10(b), 20A, and 20(a) of the

 7   Exchange Act, 15 U.S.C. §§ 78j(b), 78t-1, 78t(a).

 8   I.     PRELIMINARY STATEMENT

 9          Plaintiffs seek to invoke the federal securities laws as an insurance policy against their

10   purported losses on opportunistic purchases and sales of ICP tokens. The federal securities laws

11   offer no such protection. The core premise of Plaintiffs’ claims is that ICP is a security under the

12   Supreme Court’s test articulated in SEC v. W.J. Howey Co., 328 U.S. 293 (1946) and its progeny.

13   Defendants vigorously contest that premise, but the Court need not decide that question here.

14   Despite this being Plaintiffs’ third attempt to allege their claims, made with the benefit of new

15   counsel and after Defendants identified numerous defects in Plaintiffs’ previous complaint, the

16   SAC still fails to plead cognizable claims.

17          First, Plaintiffs’ Securities Act claims should be dismissed as untimely because ICP was

18   first offered to the public in February 2017—more than three years before this action was filed in

19   August 2021. Accordingly, the applicable three-year statute of repose has run.

20          Second, Plaintiffs allege no facts supporting the contention that any Defendant was a

21   “statutory seller”—a requisite element of Plaintiffs’ Securities Act Section 12(a)(1) claim.

22   Plaintiffs do not allege that any Defendant directly passed title to them, or that any Defendant

23   solicited them in connection with their purchasing ICP. These pleading defects are fatal to

24   Plaintiffs’ Securities Act claims.

25          Third, Plaintiffs’ Exchange Act claims should be dismissed for failure to meet the exacting

26   pleading standards under the Private Securities Litigation Reform Act and Federal Rule of Civil

27   Procedure 9(b). Plaintiffs do not allege any actionable materially false or misleading statement.

28   Each statement to which Plaintiffs point was true, and Plaintiffs fail to allege any material facts


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     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                      NO. 3:21-CV-06118-JD
 1   that Defendants were required to disclose. Plaintiffs likewise fail to plead scienter, relying on

 2   speculative, conclusory, and circular allegations about Defendants’ motives and intent that are

 3   insufficient as a matter of law. Moreover, Plaintiffs do not demonstrate any causal connection

 4   between the alleged misrepresentations and Plaintiffs’ losses, i.e., loss causation. Plaintiffs’

 5   Exchange Act claims therefore must be dismissed because the federal securities laws do not

 6   “provide investors with broad insurance against market losses.” Dura Pharm., Inc. v. Broudo, 544

 7   U.S. 336, 345 (2005).

 8          Fourth, Plaintiffs’ failures to plead any primary violation of the federal securities laws are

 9   fatal to Plaintiffs’ remaining claims for insider trading under Section 20A of the Exchange Act and

10   control person liability under Sections 20(a) of the Exchange Act and 15 of the Securities Act.

11          This Court should dismiss the SAC with prejudice.

12   II.    STATEMENT OF FACTS1

13          Dfinity is engaged in the development of a decentralized version of the internet (the

14   “Internet Computer” blockchain). SAC ¶¶ 2, 40.2 The Internet Computer is a blockchain-based

15   network that can run smart contracts at web speed, serve web directly to users, and provide better

16   usability than systems built on traditional technology. ICP is used for computational, governance,

17   and other purposes on the Internet Computer. In February 2017 (over three years before this

18   action), Dfinity conducted a public “crowdsale” of ICP—a “seed round”—to fund development of

19   the Internet Computer. First Amended Complaint (ECF No. 45) (“FAC”) ¶ 36.3 The purpose of

20   this round was to “fundraise for the blockchain’s development,” and participants would “receive

21   ICP tokens in proportion to their donations.” SAC ¶ 29. Hundreds of purchasers participated in

22

23   1
       The following facts are drawn from Plaintiffs’ allegations and are accepted as true for purposes
24   of this motion to dismiss only.
     2
       All emphasis is added and quotations and citations omitted unless otherwise noted.
25   3
       Plaintiffs’ SAC omits certain allegations contained in Plaintiffs’ FAC, presumably in an attempt
     to avoid arguments Defendants previously raised in their motion to dismiss the FAC. (See ECF
26
     No. 62.) But Plaintiffs cannot “avoid the implications of these factual allegation[s] by omitting
27   them” and the Court can consider these prior allegations in ruling on this motion. Bauer v. Tacey
     Goss, P.S., 2012 WL 2838834, at *3 (N.D. Cal. July 10, 2012) (disregarding allegations in
28   operative complaint that contradicted allegations in previous complaint that plaintiff had dropped).
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     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                        NO. 3:21-CV-06118-JD
 1   this February 2017 crowdsale, receiving over 115 million ICP—24.72 percent of all ICP. FAC ¶¶

 2   54, 91.

 3             Following the “first sale” and public offering of ICP in February 2017, FAC ¶ 36,

 4   Defendants periodically provided updates (in publicly accessible statements, interviews, and news

 5   articles) on the development and potential benefits of the Internet Computer, including speaking

 6   publicly about predictions for the Genesis fundraising round and early ICP purchasers, SAC ¶¶ 39-

 7   46, 50-51. Among other things, to protect the integrity of ICP, Defendants established and

 8   disclosed lockup periods and vesting requirements for certain categories of purchasers who had

 9   bought ICP prior to Genesis. Defendants specifically told the public before Genesis that February

10   2017 seed round participants were subject to certain vesting requirements, id. ¶ 53, and that a

11   separate but related entity—the Internet Computer Association (“ICA”)—would own a percentage

12   of ICP at Genesis, FAC ¶¶ 54-56. Plaintiffs do not allege that the ICA was subject to any

13   restrictions on sales.

14             In May 2021, Dominic Williams—the Foundation’s founder—made statements in

15   interviews, some of which were republished in news articles, regarding the progress that had been

16   made on the Internet Computer. SAC ¶¶ 44-46. On May 10, 2021, Dfinity completed the Genesis

17   release of the Internet Computer blockchain, and ICP was listed on cryptocurrency platforms such

18   as Binance and Kucoin. Id. ¶¶ 47-48. At Genesis, Defendants told the public that there would be

19   vesting restrictions on certain purchasers, including seed round participants. Id. ¶ 53. Defendants

20   also reminded ICP purchasers that “the [F]oundation and key early team members were locked up

21   at launch for a week[.]” Id. ¶ 55. In response to unfounded accusations that certain Dfinity insiders

22   had sold ICP (contrary to the lockup periods), Mr. Williams assured the public that this was not

23   the case. Id. ¶¶ 55, 63-64. Indeed, as Plaintiffs acknowledge, people and entities other than

24   Defendants held ICP that were not subject to restrictions, and these third parties did sell ICP during

25   the Class Period. Id. ¶¶ 133(d)-(f). Plaintiffs put forward no factual allegations regarding any

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     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                         NO. 3:21-CV-06118-JD
 1   sales of ICP by Mr. Williams during the Class Period.4 As Plaintiffs acknowledge, a significant

 2   number of the ICP sales that occurred at and immediately after Genesis were by former Dfinity

 3   employees, who were not subject to any lockup periods. Id. ¶¶ 133(d)-(f), 148(c).

 4          Beginning in May 2021, Plaintiffs made several purchases of ICP. Plaintiffs do not allege

 5   that they were aware of the statements attributed to Defendants in the SAC, much less plead

 6   reliance on those statements. See id. ¶¶ 8-9. Since Genesis, the digital asset market remains

 7   volatile; the price of ICP has fluctuated and, ultimately, fallen significantly, giving rise to

 8   Plaintiffs’ opportunistic action on behalf of a purported class of ICP purchasers. Id. ¶¶ 1, 6.

 9   III.   LEGAL STANDARD
10          In evaluating a motion to dismiss under Rule 12(b)(6), the Court “need not accept as true

11   allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable

12   inferences.” In re Terravia Holdings, Inc. Sec. Litig., 2020 WL 553939, at *2 (N.D. Cal. Feb. 4,

13   2020). “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires

14   more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

15   will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

16   IV.    PLAINTIFFS’ SECURITIES ACT CLAIMS SHOULD BE DISMISSED
17          A.      Plaintiffs’ Securities Act Claims Are Barred by the Statute of Repose
18          Plaintiffs’ claims under Sections 12(a)(1) and 15 of the Securities Act are time-barred
19   under Section 13’s three-year statute of repose. See 15 U.S.C. § 77m (“In no event shall any such
20   action be brought to enforce a liability created under section 77k or 77l(a)(1) of this title more than
21   three years after the security was bona fide offered to the public[.]”). The statute of repose is an
22   absolute outer limit on liability, CTS Corp. v. Waldburger, 573 U.S. 1, 8 (2014), that is not subject
23   to equitable tolling, Cal. Pub. Emps.’ Ret. Sys. v. ANZ Sec., Inc., 582 U.S. 497, 509 (2017). As
24   applied to a sale of an (alleged) unregistered security, “the three-year period begins when the
25   security is first bona fide offered”—that is, when a security was “really and truly (genuinely) being
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27
     4
       While Plaintiffs assert in conclusory fashion that “[Mr.] Williams admitted that he sold ICP,”
     id. ¶ 142, the SAC does not identify the basis for that purported “admission” and does not allege
28   any particularized facts indicating that Mr. Williams himself sold ICP tokens at any time.
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     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                          NO. 3:21-CV-06118-JD
 1   offered to the public, as opposed to, say, a simulated offering.” P. Stolz Fam. P’ship L.P. v. Daum,

 2   355 F.3d 92, 99-100 (2d Cir. 2004). Because the statute of repose begins to run when an alleged

 3   security is first offered, that period “can run to completion even before injury has occurred to a

 4   potential plaintiff, extinguishing a cause of action before it even accrues.” Id. at 103; see also

 5   Footbridge Ltd. Tr. v. Countrywide Fin. Corp., 770 F. Supp. 2d 618, 627 (S.D.N.Y. 2011) (holding

 6   Section 12(a)(2) claim barred). In Stolz, the court dismissed the plaintiff’s Section 12(a)(1) claim

 7   (brought in 2001), because the defendant first offered those securities in 1997, even though the

 8   plaintiff did not purchase until 2000. 355 F.3d at 106. Dismissal is similarly appropriate here.

 9          Plaintiffs allege that Dfinity first offered ICP to the public shortly after February 2017. At

10   that time, participants in Dfinity’s “public” “seed round” could contribute money to the

11   Foundation, and participants would later “receive ICP tokens in proportion” to those contributions.

12   SAC ¶ 29. ICP was thus “really and truly (genuinely) being offered to the public” in 2017, starting

13   the clock on Section 13’s three-year statute of repose. Stolz, 355 F.3d at 99. There was nothing

14   “simulated” about this offering, id., and Plaintiffs’ allegations confirm that seed round participants

15   did indeed receive ICP following their February 2017 contributions, SAC ¶ 53.

16          Plaintiffs also previously alleged in the FAC that these “first sale[s]” of ICP occurred in

17   February 2017, FAC ¶ 36, and involved 370 contributors who purchased over 115 million in ICP

18   (about 25% of all tokens created), id. ¶ 54, further confirming that ICP was bona fide offered to

19   the public in February 2017. The SAC conspicuously dropped these allegations, and Plaintiffs

20   now claim that no “actual tokens” were sold at the time of the seed round. SAC ¶ 29. Where, as

21   here, certain “allegations in an amended complaint contradict those in a prior complaint,” this

22   Court “need not accept the new alleged facts as true, and may, in fact, strike the changed allegations

23   as ‘false and sham.’” Azadpour v. Sun Microsystems, Inc., 2007 WL 2141079, at *2 n.2 (N.D.

24   Cal. July 23, 2007); see also supra, n.3. In any case, the SAC’s unsupported new allegations are

25   irrelevant—the three-year statute of repose begins to run when an alleged security is first “offered”

26   to the public, not at the time that a transaction occurs or becomes final. 15 U.S.C. § 77m; cf. Smith

27   v. Lifevantage, 2020 WL 6940735, at *3 (D. Utah Nov. 25, 2020) (holding that statute of repose

28   began to run on effective date of registration statement). As such, Plaintiffs’ Securities Act
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     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                         NO. 3:21-CV-06118-JD
 1   claims—which were asserted for the first time on August 9, 2021—expired in 2020, are time-

 2   barred, and should be dismissed without leave to amend.

 3          B.      Plaintiffs Do Not Adequately Allege Any Defendant Was a “Statutory Seller”

 4          Liability under Section 12(a)(1) of the Securities Act is limited to defendants who are

 5   “statutory sellers”—i.e., “those who offer or sell unregistered securities.” Pinter v. Dahl, 486 U.S.

 6   622, 641-42 (1988). Under Pinter, a defendant is a “statutory seller” “in only two circumstances:

 7   (1) if the defendant directly passed title of the security to the plaintiff; or (2) if the defendant

 8   directly solicited the sale of the security and is motivated in part to serve [its] own financial

 9   interests or the financial interests of the securities owner.” Welgus v. TriNet Grp., Inc., 2017 WL

10   167708, at *22 (N.D. Cal. Jan. 17, 2017). Plaintiffs do not satisfy either Pinter prong.

11                  1.      Plaintiffs Do Not Allege Any Defendant Passed Title to Them.

12          Under Pinter’s first prong, Plaintiffs must allege that one of the Defendants was their

13   “immediate seller”—i.e., passed title in ICP directly to Plaintiffs. Pinter, 486 U.S. at 644 n.21;

14   Primo v. Pac. Biosciences of Cal., Inc., 940 F. Supp. 2d 1105, 1125 (N.D. Cal. 2013) (no privity

15   with issuer because “securities at issue were sold through a firm commitment underwriting, in

16   which title passed to the Underwriter Defendants before passing to the ultimate purchasers”).

17   Here, Plaintiffs do not allege—even in conclusory fashion—that any Defendant passed title in ICP

18   to them, SAC ¶¶ 8-9, and therefore cannot satisfy the first prong of Pinter.5

19                  2.      Plaintiffs Do Not Allege Any Defendant Solicited Their Purchases.

20          Under Pinter’s second prong, Plaintiffs must adequately allege a communication “directed

21   at producing the sale” of the alleged security, Pinter, 486 U.S. at 646—i.e., a communication that

22   “‘urge[s] or persuade[s]’ another to buy[,]” Pino v. Cardone Cap., LLC, 55 F.4th 1253, 1258 (9th

23   Cir. 2022). “The language and purpose of § 12(1) suggest that liability extends only to the person

24   who successfully solicits the purchase[.]” Pinter, 486 U.S. at 647. Plaintiffs fail this standard.

25          First, while the SAC attributes a variety of statements to Mr. Williams, Plaintiffs do not

26   identify which (if any) of these alleged statements purportedly constitute “solicitation”—and

27   5
       Plaintiffs also allege that sellers other than Defendants sold ICP at Genesis, SAC ¶ 133(d)-(g),
28   so there is no basis to draw even the unstated inference that Defendants passed title to Plaintiffs.
                                                      -6-
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 1   indeed, none of them do. Many of the alleged statements merely discuss (i) Dfinity’s progress in

 2   building and launching the Internet Computer blockchain, SAC ¶¶ 43, 45; (ii) the Dfinity team’s

 3   commitment to the project and incentive-based compensation structure, id. ¶¶ 34-37; or

 4   (iii) features of the Internet Computer blockchain itself, id. ¶¶ 40-41, 46-47. These alleged

 5   statements fall short of the kind that are “directed at producing [a] sale” and that may qualify as

 6   solicitation under Pinter. 486 U.S. at 646; cf. Pino, 55 F.4th at 1256 (solicitation adequately

 7   alleged where statements included discussion of individual would-be purchasers’ expected rates

 8   of return, e.g., “Want to double your money[?]”). And while Plaintiffs allege Defendants took

 9   (unspecified) actions to “ensur[e] [ICP] was listed on numerous cryptocurrency exchanges,” SAC

10   ¶ 48, that conduct does not “urge or persuade” a sale, as required under Pinter, see Pino, 55 F.4th

11   at 1258; Underwood v. Coinbase Glob., Inc., 654 F. Supp. 3d 224, 239 (S.D.N.Y. 2023)

12   (allegations that cryptocurrency platform “promote[d] the sale” of tokens by providing information

13   about tokens, and “participated in direct promotions” “designed to increase trading volume,”

14   insufficient).

15           Second, Plaintiffs fail to allege that any purported “solicitation” was successful, as required

16   under Pinter. 486 U.S. at 646. Indeed, Plaintiffs do not allege that they purchased ICP in

17   connection with any of Defendants’ alleged statements, or that they were even aware of the

18   statements attributed to Defendants. To the contrary, Plaintiffs allege facts consistent with

19   independent and personal efforts to gamble on the ups and downs of the market. See SAC ¶¶ 8-9

20   (alleging Plaintiff Valenti made at least 23 separate purchases of ICP and Lead Plaintiff Rodriguez

21   made at least seven separate purchases). And while Plaintiffs allege in conclusory fashion that

22   Plaintiff Valenti purchased ICP in connection with “Defendants’ promotional efforts,” the only

23   purported “promotional effort” Plaintiffs identify in support of this claim is Defendants’ purported

24   decision to list ICP on various cryptocurrency platforms, id. ¶¶ 49, 112, not any conduct that even

25   arguably “urged or persuaded” Plaintiff Valenti to purchase ICP. The SAC fails even to allege

26   that Plaintiff Rodriguez purchased his ICP due to any conduct on Defendants’ part (solicitation or

27   otherwise). These failures alone are fatal to Plaintiffs’ Section 12 claim. See, e.g., Hollifield v.

28   Resolute Cap. Partners Ltd., LLC, 2023 WL 4291524, at *6 (C.D. Cal. May 12, 2023) (dismissing
                                                       -7-
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 1   Section 12(a)(1) claim where plaintiffs “allege[d] that many of the Movants ‘engaged in general

 2   solicitation’ by hosting ‘investor seminars, dinners, and radio shows[,]’” but did not “allege that

 3   they attended any seminars or dinners or listened to any radio shows”); Holsworth v. BProtocol

 4   Found., 2021 WL 706549, at *3 (S.D.N.Y. Feb. 22, 2021) (dismissing Section 12(a)(1) claim

 5   where plaintiff failed to allege “that he purchased [crypto tokens] as a result of any active

 6   solicitations”).

 7           Plaintiffs’ allegations thus fail to satisfy Pinter’s “solicitation” prong.

 8   V.      PLAINTIFFS’ EXCHANGE ACT CLAIMS SHOULD BE DISMISSED

 9           A.         Plaintiffs’ Section 10(b) Claim Should Be Dismissed

10           To state a Section 10(b) claim, Plaintiffs must allege particularized facts showing (1) a

11   misrepresentation or omission of a material fact; (2) made with scienter; (3) in connection with the

12   purchase or sale of a security; (4) reliance; (5) economic loss; and (6) loss causation. In re NVIDIA

13   Corp. Sec. Litig., 768 F.3d 1046, 1052 (9th Cir. 2014). Claims under Section 10(b) are subject to

14   the heightened pleading requirements of Rule 9(b) and the PSLRA, which apply to all elements of

15   a securities fraud action, including loss causation. Or. Pub. Emps. Ret. Fund v. Apollo Grp. Inc.,

16   774 F.3d 598, 604-05 (9th Cir. 2014). These “heightened pleading requirements . . . present no

17   small hurdle for the securities fraud plaintiff.” Macomb Cnty. Emps. Ret. Sys. v. Align Tech., Inc.,

18   39 F.4th 1092, 1096 (9th Cir. 2022). Plaintiffs cannot clear this hurdle: they fail to allege a material

19   misrepresentation, scienter, and loss causation, each of which is dispositive.

20                      1.    Plaintiffs Fail To Plead Actionable Misstatements

21           Plaintiffs allege as misleading seven statements by Mr. Williams in May and June of 2021,

22   all of which relate to vesting periods, lockups, and alleged sales by Dfinity, its founders, officers,

23   directors, and other purported “insiders.” SAC ¶¶ 133(a)-(g); see also SAC Ex. A. Plaintiffs ask

24   this Court to infer—from vague, unsupported allegations about the supposed underlying meaning

25   of these excerpted statements—that the statements were somehow misleading. See id. ¶¶ 133(a)-

26   (g). Plaintiffs’ speculative inferences both defy common sense and are insufficiently particularized

27   under the PSLRA and Rule 9(b).

28           Statements 2-3 (Lockup Statements). Plaintiffs allege as misleading two statements by
                                                       -8-
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 1   Mr. Williams that “the foundation and key early team members were locked up,” SAC ¶ 133(b),

 2   and—clarifying who those “early team members” were—that “the foundation, founders and

 3   directors weren’t even able to sell initially because of regulatory lockups,” id. ¶ 133(e). Plaintiffs

 4   do not seriously allege that these statements were false, and do not so allege in their list of

 5   purported misrepresentations and omissions, but rather ask this Court to infer that these statements

 6   were misleading because Defendants omitted that other individuals—including former Dfinity

 7   employees—were not subject to lockups and vesting schedules. See, e.g., id. ¶¶ 133(b), (e). But

 8   Plaintiffs’ inferential leap does not render these statements misleading: On their face, the

 9   challenged statements about lockups are expressly limited to specific individuals and entities.

10   Defendants did not state—nor is it reasonable to infer from Defendants’ statements—that everyone

11   else previously or currently associated with Dfinity was also locked up. See Brody v. Transitional

12   Hosps. Corp., 280 F.3d 997, 1006 (9th Cir. 2002) (“To be actionable under the securities laws, an

13   omission . . . must affirmatively create an impression of a state of affairs that differs in a material

14   way from the one that actually exists.”); infra, Sect. V.A.2.

15          Plaintiffs also allege that these statements were misleading because purported “insiders” (a

16   term Plaintiffs use to refer not only to Dfinity USA and current employees, but also to former

17   employees, see SAC ¶ 133(a)) allegedly sold ICP at Genesis. Id. ¶¶ 133(b), (e). In support,

18   Plaintiffs point to alleged “transfers” by “Dfinity” to “accounts [on trading platforms] apparently

19   belonging to Dfinity, its team members or other Dfinity insiders.” Id. ¶¶ 58-59. These allegations

20   fall conspicuously short of alleging that any of the above parties actually sold ICP. These

21   allegations also fail to identify to whom the transferee “accounts apparently belong[ed,]” much

22   less allege facts establishing that those other, unidentified third parties were “controlled” by

23   Dfinity. SAC ¶¶ 57-59. Moreover, the sole basis for these allegations about “transfers” is one

24   “report” by Arkham Intelligence (the “Arkham Report”). Id. ¶¶ 58-59. But Plaintiffs do not, as

25   they are required to do, identify the basis for the Arkham Report’s conclusions, allege any facts as

26   to why the author of the report was in a position to personally know the information at issue, or

27   otherwise explain why the report’s conclusions are reliable. See, e.g., Applestein v. Medivation,

28   Inc., 861 F. Supp. 2d 1030, 1039 (N.D. Cal. 2012) (disregarding “speculation” from source that
                                                      -9-
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 1   was “based not on [source’s] personal knowledge”), aff’d, 561 F. App’x 598 (9th Cir. 2014). The

 2   Court should disregard these allegations.

 3          Finally, Plaintiffs allege that these statements were misleading because Defendants did not

 4   disclose that they had “indirectly” sold ICP through the ICA. SAC ¶¶ 60-61. But Plaintiffs’

 5   allegations regarding “indirect” sales through the ICA—based on the account of “a[n unnamed]

 6   group of Dfinity employees,” id. ¶ 60—are insufficiently particularized. Where Plaintiffs rely on

 7   confidential witnesses, they “must establish [the] confidential witnesses’ reliability and personal

 8   knowledge with sufficient particularity”—i.e., explain how the witness is “in a position to

 9   personally know the information alleged.” Nat’l Elevator Indus. Pension Fund v. Flex Ltd., 2021

10   WL 6101391, at *1 (9th Cir. Dec. 21, 2021). Plaintiffs plead no particularized facts showing this

11   unspecified “group of Dfinity employees[’]” personal knowledge of the claims attributed to them

12   and do not otherwise establish their reliability; Plaintiffs therefore cannot rely on them to support

13   Plaintiffs’ allegations that the Foundation (or any other Defendant) sold ICP through the ICA. See

14   SAC ¶ 60. Moreover, as Plaintiffs themselves have acknowledged, the fact that the ICA would

15   own 20 million tokens at Genesis was disclosed on May 10, 2021, FAC ¶¶ 54-56, and Plaintiffs

16   do not allege that the ICA was subject to a lockup period or other restrictions. Plaintiffs otherwise

17   fail to allege any facts suggesting that Defendants, their directors, or Mr. Williams sold any ICP.

18          Statements 1 & 6 (Foundation ICP Statements).               Plaintiffs allege as misleading

19   Mr. Williams’ statements that the Foundation did not sell tokens at or soon after Genesis for similar

20   reasons as those identified above. SAC ¶ 133(d) (“Foundation did NOT sell ICP tokens from its

21   endowment at or soon after Genesis launch”); id. ¶ 133(c) (“Foundation didn’t vest itself but plans

22   on putting most of its ICP into neurons”). But as explained above, Plaintiffs do not adequately

23   allege that the Foundation sold ICP at Genesis, and do not so allege at all in their recitation of

24   alleged misrepresentations and omissions. Instead, they ask the Court to infer such sales, based

25   on unsupported allegations regarding “transfers” (not sales) to unidentified supposed third-party

26   exchange accounts, and on unreliable confidential witness accounts about “indirect” sales made

27   by “Dfinity” through the ICA.       Id. ¶¶ 58-61.      And, underscoring the deficiencies in these

28   allegations of “sales,” Plaintiffs offer contradictory assertions about when the Foundation
                                                     -10-
     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                        NO. 3:21-CV-06118-JD
 1   allegedly sold ICP, alleging both that “the Foundation began making significant sales of ICP

 2   tokens as soon as the ICO launched on May 10, 2021,” id. ¶ 55, and that “the Foundation had

 3   begun selling ICP on exchanges no later than May 24, 2021,” id. ¶ 133(d). Plaintiffs make no

 4   effort whatsoever to substantiate the latter date. For the reasons explained above, those allegations

 5   of sales are an insufficient basis upon which to state a misstatements claim.6

 6          Statements 4 & 5 (Third-Party Sales Statements). Plaintiffs allege that Mr. Williams’

 7   statements that parties other than Defendants sold ICP at Genesis were misleading—either

 8   because those third parties allegedly could not have sold or because Defendants allegedly also sold

 9   ICP.   SAC ¶ 133(f) (challenging the statement, “Despite Seed Donors divesting their ICP

10   tokens…’”);7 id. ¶ 133(g) (challenging statement that “a significant portion of the irresponsible

11   token divesting stemmed from former employees”). But Plaintiffs’ allegations undermine the

12   supposed falsity of these statements. For example, Plaintiffs assert that Mr. Williams’ statement

13   “accus[ing] ‘seed’ donors of “divesting their ICP tokens’” was misleading because seed donors

14   were subject to lockups. Id. ¶ 133(f). But Plaintiffs also allege that Mr. Williams publicly

15   explained and disclosed—a month before this statement—that while seed round participants were

16   subject to certain lock-up and vesting requirements, a portion of the ICP held by seed donors would

17   “be unlocked each month,” including immediately at Genesis. Id. ¶ 53. The May 10, 2021

18   Medium post that Plaintiffs rely upon as a basis for this statement also makes clear that a portion

19   of seed donors were unlocked immediately upon the date of Genesis, on May 10, 2021. See Liftik

20   Decl. Ex. B (May 10, 2021 Medium Post) (“Seed donors will receive all of their ICP tokens at

21
     6
       In particular, Mr. Williams’ statement that the Foundation “didn’t vest itself but plans on putting
22
     most of its ICP into neurons,” SAC ¶ 133(c), says nothing about whether the Foundation made any
23   sales at Genesis, and in fact makes clear that the Foundation was not subject to any long-term
     vesting.
     7
24     The SAC does not include the full text of Statement 5, instead characterizing Mr. Williams as
     having “accused ‘seed’ donors of “divesting their ICP tokens’” in a June 11, 2021 article posted
25   on medium.com. SAC ¶ 133(f). In that post, Mr. Williams stated, “Despite Seed Donors divesting
     their ICP tokens, it’s important to note this community of early supporters helped bootstrap the
26
     Internet Computer project.” Declaration of Michael E. Liftik in Support of Defendants’ Motion
27   to Dismiss (March 29, 2024) (“Liftik Decl.”) Ex. A (June 11, 2021 Medium Post); see also Kang
     v. PayPal Holdings, Inc., 620 F. Supp. 3d 884, 896 (N.D. Cal. 2022) (court can consider full
28   context of communication containing allegedly misleading statement).
                                                     -11-
     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                          NO. 3:21-CV-06118-JD
 1   Genesis Unlock . . . One of their neurons will have a dissolve delay of 0 days, allowing the staked

 2   ICP tokens to be unlocked immediately, if desired[.]”). Because Plaintiffs allege that statements

 3   in Mr. Williams May 10, 2021 Medium post were misleading, SAC ¶ 133(a), the Court can

 4   consider the full content of that post here, see Kang, 620 F. Supp. 3d at 896.

 5          Further, Plaintiffs’ own allegations establish that these third parties—“former employees”

 6   (Stmt. 4) and “‘seed’ donors” (Stmt. 5)—could and did sell ICP at Genesis, consistent with Mr.

 7   Williams’ statements that Plaintiffs do not allege as false. Indeed, the SAC alleges that former

 8   employees were not locked up and did sell ICP at or shortly after Genesis. See, e.g., SAC ¶ 140

 9   (alleging that “current and former team members” of Dfinity “[sold] tens of millions of ICP tokens

10   on the market” at Genesis). Plaintiffs cannot simultaneously (i) suggest Mr. Williams’ statement

11   that “a significant portion” of “token divesting stemmed from former employees” was misleading

12   because former employees allegedly did not sell significant ICP; and (ii) allege that other

13   statements Mr. Williams made were false because former employees did sell a significant amount

14   of ICP. Plaintiffs cannot cobble together a securities claim by making contradictory allegations

15   about the veracity of Defendants’ alleged statements and asking this Court to ignore what

16   Defendants actually said.8 See, e.g., In re Juniper Networks, Inc. Sec. Litig., 2004 WL 547604, at

17   *3 (N.D. Cal. Mar. 11, 2004) (“internally contradictory” allegations fell short of PSLRA’s

18   pleading standards). Finally, as explained above, Plaintiffs cannot base their claims that these

19   statements were misleading on alleged sales by Defendants, as Plaintiffs fail to plausibly allege

20   any such sales. See supra, pp. 9-10.

21          Statement 7 (May 10, 2021 Medium Post). Plaintiffs argue Mr. Williams’ statement that

22   “[i]t is very important that the flow of liquid ICP tokens around the network is released on a

23   schedule” was misleading because it “gave investors the misleading impression that Dfinity’s and

24   its insiders’ ICP tokens were subject to lock-up and vesting requirements.” SAC Ex. A. But this

25   statement says nothing about Dfinity’s (or its unnamed “insiders’”) control of ICP, nor does it

26   8
       For this reason, Plaintiffs’ allegation that Defendants were required to disclose that seed round
27   participants were subject to vesting requirements, SAC ¶ 133(f) (SAC Ex. A, Stmt. 5), does not
     hold water. Mr. Williams disclosed that fact, over a month before making the statement with
28   which Plaintiffs take issue. See id. ¶ 53.
                                                    -12-
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 1   mention lockups or vesting requirements. “[B]ecause there is a mismatch between the statement

 2   identified as false and misleading on the one hand, and the reasons why plaintiff says the statement

 3   was false or misleading on the other[,]” Plaintiffs fail to plead falsity. In re InvenSense, Inc. Sec.

 4   Litig., 2017 WL 11673462, at *3 (N.D. Cal. Apr. 12, 2017). Further, read in context, it is clear

 5   that Mr. Williams was referring to lockups and vesting schedules applicable to those who received

 6   ICP through the February 2017 seed round and 2018 “Airdrop.” See Liftik Decl. Ex. B (May 10,

 7   2021 Medium Post) (titled, “How to Access ‘Seed’ and ‘Airdrop’ ICP Tokens and Participate in

 8   the Internet Computer Network”); InvenSense, 2017 WL 11673462, at *3 (“reading [alleged]

 9   statement in its full context” to find no falsity).

10           Further, Statement 7 is quintessential puffery and opinion and therefore inactionable as a

11   matter of law. See Terravia Holdings, 2020 WL 553939, at *5-6 (dismissing as inactionable

12   puffery “generalizations that provide nothing concrete upon which a plaintiff could reasonably

13   rely”); Kelly v. Elec. Arts, Inc., 71 F. Supp. 3d 1061, 1071 (N.D. Cal. 2014) (finding “vague

14   statement[s] of corporate optimism” and opinion unactionable).

15                   2.      Plaintiffs Fail To Plead Actionable Omissions

16         To the extent Plaintiffs seek to base their Section 10(b) claim on omissions, that claim fails

17   for the independent reason that Plaintiffs fail to plead any duty to disclose. Kang, 620 F. Supp. 3d

18   at 897. “Silence, absent a duty to disclose, is not misleading under Rule 10b-5.” Basic Inc. v.

19   Levinson, 485 U.S. 224, 239 n.17 (1988). Instead, this duty only arises where disclosure is

20   necessary to make Defendants’ statements, “in the light of the circumstances under which they

21   were made, not misleading.” Kang, 620 F. Supp. 3d at 897. “[I]n other words [the alleged

22   statement] must affirmatively create an impression of a state of affairs that differs in a material

23   way from the one that actually exists.” Brody, 280 F.3d at 1006.

24         Here, Plaintiffs fail to adequately allege that Defendants owed them any duty to disclose the

25   allegedly omitted information, relying only on a boilerplate recitation of the legal standard for

26   omission and the unsupportable claim that Defendants owed ICP purchasers a fiduciary duty. See

27   SAC ¶ 163. Plaintiffs fail to allege any facts suggesting what kind of a fiduciary duty existed, do

28   not explain how such duty could exist before Plaintiffs purchased ICP tokens, and do not allege
                                                       -13-
     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                         NO. 3:21-CV-06118-JD
 1   how or why this unexplained “fiduciary duty” would give rise to a duty to disclose the specific

 2   allegedly omitted information here. Id. Moreover, as explained above, Plaintiffs do not adequately

 3   allege that any statement was misleading. See supra, Sect. V.A.1. To the contrary, the allegedly

 4   omitted facts simply “bear no connection to the substance of” Defendants’ statements, and are

 5   therefore inactionable. In re Eventbrite Sec. Litig., 2020 WL 2042078, at *13 (N.D. Cal. Apr. 28,

 6   2020). Moreover, Plaintiffs do not explain how any alleged omission “affirmatively create[d]” a

 7   false impression. Brody, 280 F.3d at 1006 (affirming dismissal).

 8                   3.      Plaintiffs Fail To Plead a Strong Inference of Scienter

 9          To plead scienter under the PSLRA, Plaintiffs “must [allege] specific contemporaneous

10   statements or conditions that demonstrate the intentional or the deliberately reckless false or

11   misleading nature of the statements when made.” Metzler Inv. GMBH v. Corinthian Colls., Inc.,

12   540 F.3d 1049, 1066 (9th Cir. 2008) (scienter requires “specific facts indicating no less than a

13   degree of recklessness that strongly suggests actual intent”); City of Dearborn Heights Act 345

14   Police & Fire Ret. Sys. v. Align Tech., Inc., 856 F.3d 605, 619 (9th Cir. 2017) (“mere recklessness”

15   is insufficient to plead scienter). It is not enough to allege facts from which an inference of scienter

16   “could be drawn”; Plaintiffs must “plead with particularity facts that give rise to a ‘strong’—i.e.,

17   a powerful or cogent—inference,” Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 323

18   (2007), that “a reasonable person would deem . . . cogent and at least as compelling as any

19   opposing inference,” Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 991 (9th Cir. 2009)

20   as amended (Feb. 10, 2009) (emphasis in original).9

21          The SAC is devoid of any well-pleaded factual allegations supporting the proposition that

22   Mr. Williams knew his challenged statements were false or misleading. Rather, Plaintiffs rely on

23   conclusory (re)assertions of scienter—in other words, allegations that Mr. Williams acted with

24   knowledge because he simply must have known that his statements were false. E.g., SAC ¶ 139

25   (alleging scienter because Defendants “necessarily” “knew what restrictions were imposed

26   9
       Where, as here, Plaintiffs allege fraud by an entity (Dfinity USA and the Foundation), they must
27   allege particularized facts to establish that the individual defendant who allegedly made the
     misstatements—here, Mr. Williams—acted with the requisite state of mind. See Glazer Cap.
28   Mgmt., LP v. Magistri, 549 F.3d 736, 745 (9th Cir. 2008).
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 1   on . . . the tokens that they issued and allocated” to third parties). This circular argument is without

 2   merit and should be rejected. In re BellSouth Corp. Sec. Litig., 355 F. Supp. 2d 1350, 1374 (N.D.

 3   Ga. 2005) (dismissing “circular” scienter allegations that were “based on inferences to be drawn

 4   from the conduct on which Plaintiffs based their securities fraud claims” without “direct evidence

 5   of knowledge by any of the Defendants of the conduct alleged”).

 6          Plaintiffs do not plead knowledge or recklessness. Plaintiffs’ scienter allegations rest on

 7   conclusory assertions about Mr. Williams’ purported knowledge of (i) lock-up and vesting

 8   restrictions on Defendants’ and third parties’ ICP holdings at Genesis, SAC ¶¶ 138-140, 142; and

 9   (ii) alleged “transfers” and sales in ICP by Defendants and third parties at Genesis, id. ¶¶ 140-

10   142. Neither set of allegations is sufficient.

11          First, Plaintiffs’ allegations that Mr. Williams “knew what restrictions were imposed on

12   [Defendants’] own tokens, as well as” tokens “issued and allocated to current and former team

13   members, and to outside investors,” id. ¶ 139, are circular and do not suffice to plead scienter.

14   Mr. Williams’ knowledge of “what restrictions were imposed on [Defendants’] own tokens” is

15   irrelevant—Plaintiffs do not adequately allege that any of Mr. Williams’ statements regarding

16   restrictions on the Foundation’s or his own tokens were false, or that any information about those

17   restrictions should have been disclosed. See id. ¶ 133(b), (e); In re Taleo Corp. Sec. Litig., 2010

18   WL 597987, at *11 (N.D. Cal. Feb. 17, 2010) (alleged knowledge of facts “unrelated” to the

19   alleged misstatement “do[es] not give rise to a strong inference of scienter”). And Plaintiffs cannot

20   establish scienter regarding Mr. Williams’ purported knowledge of restrictions imposed on third

21   parties—i.e., those applicable to “current and former team members, and to outside investors,”

22   SAC ¶ 139—because they put forward no particularized allegations that Williams had such

23   knowledge. See, e.g., Park v. GoPro, Inc., 2019 WL 1231175, at *22 (N.D. Cal. Mar. 15, 2019)

24   (no scienter where “allegations [of knowledge were] too conclusory to establish Defendants knew

25   their statements were false or misleading when they were made”).10 Instead, Plaintiffs rely on

26   10
        While Plaintiffs briefly suggest that information concerning third-party token restrictions relates
27   to “Dfinity’s core operations,” SAC ¶ 142, the “core operations” theory applies only in “rare
     circumstances,” and requires Plaintiffs to set forth “particular allegations that [Mr. Williams] had
28
                                                      -15-
     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                           NO. 3:21-CV-06118-JD
 1   conclusory, non-particularized allegations of that knowledge, SAC ¶ 139 (alleging without

 2   explanation that Mr. Williams “necessarily” knew of these restrictions), id. ¶ 142 (alleging

 3   similarly, pointing only to Mr. Williams’ position at Dfinity), or by reference to Mr. Williams’

 4   statements about other restrictions in earlier funding rounds (that did not involve the third parties

 5   at issue in the alleged misstatement), SAC Ex. A (citing SAC ¶¶ 34, 37, 52). That is insufficient.

 6   Plaintiffs must plead that Mr. Williams’ alleged omission of this information was “highly

 7   unreasonable[,] involving not merely simple, or even inexcusable negligence, but an extreme

 8   departure from the standards of ordinary care, and which presents a danger of misleading buyers

 9   or sellers that is either known to the defendant or is so obvious that the actor must have been aware

10   of it.” In re Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 976 (9th Cir. 1999). But Plaintiffs

11   allege no facts supporting the conclusion that Mr. Williams intended to defraud ICP purchasers

12   by withholding information, or that any alleged omission was so “highly unreasonable” as to

13   constitute “an extreme departure from the standards of ordinary care.” Id.

14          Second, Plaintiffs’ allegations regarding Mr. Williams’ purported knowledge that

15   Defendants and unidentified “current and former team members” allegedly intended to and did sell

16   ICP “on and during the weeks that followed” Genesis, SAC ¶¶ 139-140, are also insufficient.

17   Plaintiffs fail to allege any sales by Defendants during that time. See supra, Sect. V.A.1,

18   pp.9-10. And Plaintiffs do not plead any non-conclusory factual allegations demonstrating

19   Mr. Williams was aware that unidentified “current and former team members” intended to sell at

20   Genesis, much less that these unidentified parties would sell in sufficient amounts that “the price

21   of ICP would likely collapse.” ¶ 139; see Park, 2019 WL 1231175, at *22 (conclusory allegations

22   of knowledge insufficient).

23          Plaintiffs do not plead motive.          Allegations of motive and opportunity are not

24   independently sufficient to establish scienter in this Circuit. See City of Dearborn Heights, 856

25   F.3d at 619. But (inadequate) motive allegations are all Plaintiffs put forth. Plaintiffs first suggest

26
27   access to the disputed information” and that it would be “absurd” to suggest Mr. Williams was
     without knowledge of that information, Sneed v. AcelRx Pharm., Inc., 2022 WL 4544721, at *6
28   (N.D. Cal. Sept. 28, 2022). Plaintiffs plead neither.
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 1   that Mr. Williams had a motive to act wrongfully because he would have benefited from his own

 2   sales of ICP. SAC ¶ 143. But while Plaintiffs state that Mr. Williams “admitted that he sold ICP,”

 3   id. ¶ 142, Plaintiffs cite no factual basis for that allegation and thus fail to plead that Mr. Williams

 4   sold ICP—during the Class Period or otherwise—with sufficient particularity. The complete

 5   absence of any ICP sales by Mr. Williams during the Class Period “negates any slight inference

 6   of scienter.” In re FVC.COM Sec. Litig., 136 F. Supp. 2d 1031, 1039 (N.D. Cal. 2000), aff’d, 32

 7   F. App’x 338 (9th Cir. 2002). Nor can Plaintiffs substitute sales by alleged “insiders”—many of

 8   whom are ex-employees not alleged to have any continuing relationship with Defendants—to

 9   compensate for this deficiency. See, e.g., SAC ¶ 162 (noting that “Dfinity insiders” included

10   “current and former team members”). “Sales by insiders not named as defendants . . . are irrelevant

11   to the determination of the named defendant’s scienter.” Wozniak v. Align Tech., Inc., 2011 WL

12   2269418, at *14 (N.D. Cal. June 8, 2011); see also In re Splash Tech. Holdings, Inc. Sec. Litig.,

13   160 F. Supp. 2d 1059, 1082 n.22 (N.D. Cal. 2001) (collecting cases).

14          Finally, Plaintiffs’ allegation that “Defendants . . . had the motive not to disclose these facts

15   after May 10, 2021, because they still held significant amounts of ICP,” SAC ¶ 144, is belied by

16   Plaintiffs’ allegations elsewhere that Defendants purportedly did disclose the alleged facts at issue.

17   If Plaintiffs’ logic were true, then—as Plaintiffs admit—Defendants would have had no reason to

18   disclose these allegedly concealed facts at any time. Id. ¶ 143. Yet Plaintiffs allege that

19   Mr. Williams disclosed all of the allegedly concealed facts after May 10, 2021. See id. ¶¶ 148(a)-

20   (c). Indeed, the only purported “disclosures” Plaintiffs allege specifically were those made by Mr.

21   Williams. See id. Plaintiffs’ own allegations underscore the illogic of their scienter allegations,

22   and this Court should disregard them. Cf. Glaser v. The9, Ltd., 772 F. Supp. 2d 573, 593 (S.D.N.Y.

23   2011) (“It defies reason that an entity looking to profit on a fraudulently inflated stock price would”

24   retain shares of the stock “as share prices fell, while knowing that the information illuminating the

25   fraud was seeping into the market.”) (emphasis in original). Plaintiffs’ “theory does not make a

26   whole lot of sense.” Nguyen v. Endologix, Inc., 962 F.3d 405, 415 (9th Cir. 2020).

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 1                   4.      Plaintiffs Fail To Plead Loss Causation

 2           To plead loss causation adequately, Plaintiffs must allege that “the misstatement or

 3   omission concealed something from the market that, when disclosed, negatively affected the value

 4   of the security.” In re Impax Labs., Inc. Sec. Litig., 2007 WL 5076983, at *3 (N.D. Cal. Jan. 3,

 5   2007). In an efficient market, “a corrective disclosure must by definition reveal new information

 6   to the market that has not yet been incorporated into the [stock] price.” In re Nektar Therapeutics

 7   Sec. Litig., 34 F.4th 828, 839 (9th Cir. 2022) (alteration in original). Here, Plaintiffs rely on alleged

 8   disclosures that do not reveal falsity, and thus fail to adequately allege any corrective disclosure.

 9           First, Plaintiffs point to four purported disclosures, SAC ¶ 148, three of which are

10   statements made by Mr. Williams, id. ¶¶ 148(a)-(c). Plaintiffs do not allege how any of these three

11   statements reveal the falsity of any alleged prior statement. The statements thus cannot be

12   corrective. See Hoang v. ContextLogic, Inc., 2023 WL 6536162, at *28 (N.D. Cal. Mar. 10, 2023)

13   (holding that failure to allege which statements were corrected by disclosure is fatal to a loss

14   causation claim). To the contrary, two of these purported disclosures, SAC ¶¶ 148(a) & (b), are

15   also statements that Plaintiffs claim were misleading, id. ¶¶ 133(b) & (c), rendering even more

16   dubious Plaintiffs’ claim that they were somehow also corrective.             A statement cannot be

17   misleading and corrective at the same time. See In re Flag Telecom Holdings, Ltd. Sec. Litig., 574

18   F.3d 29, 41 (2d Cir. 2009) (“Plaintiffs … cannot allege that Defendants made certain misstatements

19   … and simultaneously argue that the misstatement itself constituted a corrective disclosure[.]”).

20   Regardless, Plaintiffs do not allege that Defendants ever stated that the Foundation and key team

21   members were not locked up for a week at Genesis; that the Foundation did vest itself; or that

22   former employees were not able to sell ICP. See supra, Sect. V.A.1. Thus, statements that the

23   Foundation was locked up at Genesis, SAC ¶ 148(a), that the Foundation did not vest itself, id.

24   ¶ 148(b), and that former employees were able to sell tokens, id. ¶ 148(c), are not “corrective” of

25   those prior alleged misstatements. Plaintiffs thus have not alleged “specific statements made by

26   the Defendants that were made untrue or called into question by” the supposed corrective

27   disclosures. Or. Pub. Emps. Ret. Fund, 774 F.3d at 608.

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 1           Second, Plaintiffs rely on “discussions on Reddit from June 11 to June 22” to allege that

 2   during that eleven-day time period, investors apparently “realized” that “Dfinity and its team had

 3   sold a significant amount of ICP on the market since May 10, 2021[.]” SAC ¶ 148(d). But

 4   Plaintiffs point to no disclosure: They do not allege that any specific information was disclosed

 5   in those alleged discussions; who was involved in those “discussions,” much less that any

 6   Defendant participated; or explain how such discussions among anonymous individuals on a

 7   message board “corrected” prior statements by Defendants or revealed previously concealed

 8   information. See In re BofI Holding, Inc. Sec. Litig., 977 F.3d 781, 794 (9th Cir. 2020) (when

 9   alleging loss causation, “plaintiff must plead with particularity facts plausibly explaining why the

10   information was not yet reflected in the company’s stock price”); In re Herbalife, Ltd. Sec. Litig.,

11   2015 WL 12732428, at *3 (C.D. Cal. Mar. 27, 2015) (dismissing where plaintiffs “d[id] not

12   explain what new information concerning [defendant’s] business practices the individual events

13   revealed or how the announcements otherwise exposed” the truth). Even more fundamentally,

14   Plaintiffs do not allege that the price of ICP fell on the day of any alleged revelation—they do not

15   even allege what information was purportedly posted on what day, only that ICP fell at the end of

16   an eleven-day window. See, e.g., Irving Firemen’s Relief & Ret. Fund v. Uber Techs., Inc., 998

17   F.3d 397, 409 (9th Cir. 2021) (affirming dismissal where plaintiff alleged decrease in price over

18   time but “fail[ed] to plead with particularity and distinguish among the various misstatements and

19   revelations that allegedly caused that decrease”) (emphasis in original). Plaintiffs’ failure to plead

20   specific facts showing loss causation is an independent ground for dismissal. Dura Pharm., 544

21   U.S. at 345-46.

22           B.      Plaintiffs’ Section 20A Claim Should Be Dismissed

23           To adequately allege insider trading under Section 20A, Plaintiffs “must plead (1) a

24   predicate violation of the securities laws; and (2) facts showing that the trading activity of plaintiffs

25   and defendants occur contemporaneously.” SEB Inv. Mgmt. AB v. Align Tech., Inc., 485 F. Supp.

26   3d 1113, 1135 (N.D. Cal. 2020) (cleaned up). Plaintiffs fail to allege a predicate violation of the

27   Exchange Act (see supra, Sect. V.A), and their Section 20A claim therefore fails as a matter of

28   law. In re VeriFone Sec. Litig., 11 F.3d 865, 872 (9th Cir. 1993) (Section 20A claim dismissed
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     DEFENDANTS’ MOTION TO DISMISS AND MEMORANDUM IN SUPPORT                            NO. 3:21-CV-06118-JD
 1   due to plaintiffs’ “fail[ure] to allege an actionable independent underlying violation of the ‘34

 2   Act”).

 3            Plaintiffs’ Section 20A claims fail for the independent reason that Plaintiffs do not

 4   adequately allege that any Defendant traded contemporaneously with Plaintiffs.11 Throughout the

 5   SAC, Plaintiffs repeatedly group Dfinity USA and the Foundation, including when discussing

 6   alleged sales of ICP made by “Dfinity.” See, e.g., SAC ¶¶ 57-61. Plaintiffs fail to allege which of

 7   the two purportedly sold ICP during the Class Period and also appear to rely on sales made by

 8   entities or individuals other than Defendants to support their claims of contemporaneous trading.

 9   Id. ¶ 57 (alleging sales by “Defendants” and “those they controlled”). Plaintiffs’ failure to allege

10   with particularity that any specific Defendant engaged in contemporaneous trading at the time of

11   Plaintiffs’ alleged purchases warrants dismissal of their Section 20A claims. See, e.g., JDS

12   Uniphase Corp., 2003 WL 26615705, at *9 (Section 20A claim “deficient as to Defendant FEC

13   because it does not allege that FEC itself actually traded JDSU stock” but only that it did so

14   through subsidiaries). Plaintiffs’ Section 20A claim against Mr. Williams should be dismissed for

15   similar reasons, and also because Plaintiffs fail to allege with particularity that Mr. Williams sold

16   ICP at all. See supra, Sect. V.A.3; SEB Inv. Mgmt., 485 F. Supp. 3d at 1136 (dismissing claim

17   because plaintiff failed to plead contemporaneous purchases).

18   VI.      PLAINTIFFS FAIL TO STATE A CONTROL PERSON CLAIM

19            Plaintiffs assert control person liability claims under Section 15 of the Securities Act and
20   Section 20(a) of the Exchange Act. To plead control person liability, Plaintiffs must plead both a
21   primary violation, and that Mr. Williams exercised actual power or control over the primary
22   violator. In re Energy Recovery Inc. Sec. Litig., 2016 WL 324150, at *8 (N.D. Cal. Jan. 27, 2016).
23   As discussed, Plaintiffs fail to plead a primary violation, so their control person claims necessarily
24   fail. See, e.g., In re Rigel Pharm., Inc. Sec. Litig., 697 F.3d 869, 886 (9th Cir. 2012).
25   VII.     CONCLUSION
26            For these reasons, Defendants respectfully ask the Court to dismiss the SAC with prejudice.
27   11
        Section 20A claims must meet the heightened pleading standards of Rule 9(b) and the PSLRA.
28   See In re JDS Uniphase Corp. Sec. Litig., 2003 WL 26615705, at *9 (N.D. Cal. Nov. 3, 2003).
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 1                                      Respectfully Submitted,

 2   Dated:      March 29, 2024
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